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               A                                            B                                                  C


     Notice of Termination                             Award Number                                      Vendor Name
1

           2/11/2025                72011122C00001                             DELOITTE CONSULTING LLP
2


           2/11/2025                72011421F00002                             DELOITTE CONSULTING LLP
3


           2/11/2025                72012125C00001                             DELOITTE CONSULTING LLP
4

           2/11/2025                72016820C00001                             MILLENNIUM PARTNERS CONSULTING LLC
5


           2/11/2025                72016823C00001                             DEMOCRACY INTERNATIONAL, INC
6

           2/11/2025                72029424P00055                             WEPRO SOLUTIONS & CONSULTANCY
7


           2/11/2025                72036720F00001                             DELOITTE CONSULTING LLP
8

           2/11/2025                72036722N00001                             DELOITTE CONSULTING LLP
9


           2/11/2025                72038823F00001                             GREEN POWERED TECHNOLOGY LLC
10

           2/11/2025                72038624C00002                             CONVERGENT VIEW RESEARCH & CONSULTANCY PRIVATE LIMITED
11


           2/11/2025                72044021C00001                             DELOITTE CONSULTING LLP
12


           2/11/2025                72048622F00001                             DELOITTE CONSULTING LLP
13


           2/11/2025                72062423M00002                             JEFFERSON CONSULTING GROUP LLC
14

           2/11/2025                72065623P00023                             CONSULTORES HODI, LDA
15

           2/11/2025                72066323C00008                             HEADLIGHT CONSULTING SERVICES, LLC
16


           2/11/2025                72067418C00004                             JEFFERSON CONSULTING GROUP LLC
17
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        A                                            B                                                     C


     2/11/2025                7200AA21FA00037                            PANAGORA GROUP INC.
18

     2/11/2025                72067423C00001                             DAI GLOBAL LLC
19


     2/11/2025                72067424C00001                             CHEMONICS INTERNATIONAL, INC.
20


     2/11/2025                72067424F00006                             GREEN POWERED TECHNOLOGY LLC
21

     2/11/2025                72067424F00007                             ARD, INC
22


     2/11/2025                72068522F00001                             DELOITTE CONSULTING LLP
23

     2/11/2025                720BHA23S00034                             NATALIE FELTON
24


     2/11/2025                72HCTM24PC00047                            EBSCO INFORMATION SERVICES, LLC
25

     2/11/2025                72011118LA00002                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
26


     2/11/2025                72011124LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
27

     2/11/2025                72011419CA00003                            INTERNATIONAL SOCIETY FOR FAIR ELECTIONS AND DEMOCRACY
28


     2/11/2025                72011419LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
29


     2/11/2025                72011522LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
30


     2/11/2025                72011524CA00005                            DEMOCRACY INTERNATIONAL INC
31

     2/11/2025                72036723FA00003                            DEMOCRACY RESOURCE CENTER NEPAL
32

     2/11/2025                72038621CA00006                            NATIONAL DEMOCRATIC INSTITUTE FOR INTERNATIONAL AFFAIRS
33


     2/11/2025                72038822LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
34
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        A                                            B                                                   C


     2/11/2025                72038824CA00007                            DEMOCRACY INTERNATIONAL INC
35

     2/11/2025                72044221CA00001                            REGENTS OF THE UNIVERSITY OF CALIFORNIA, THE
36


     2/11/2025                72044223LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
37


     2/11/2025                72051921LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
38

     2/11/2025                72052123LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
39


     2/11/2025                72060525LA00002                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
40

     2/11/2025                72060823LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
41


     2/11/2025                72061523LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
42

     2/11/2025                72062021LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
43


     2/11/2025                72062423CA00005                            NATIONAL DEMOCRATIC INSTITUTE FOR INTERNATIONAL AFFAIRS
44

     2/11/2025                72062424LA00002                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
45


     2/11/2025                72064123CA00006                            DEMOCRACY INTERNATIONAL INC
46


     2/11/2025                72064123LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
47


     2/11/2025                72066018LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
48

     2/11/2025                72066324LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
49

     2/11/2025                72066420LA00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
50


     2/11/2025                72066423CA00001                            DEMOCRACY INTERNATIONAL INC
51
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        A                                                B                                                   C


     2/11/2025                72066720LA00001                                CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
52

     2/11/2025                72067024CA00001                                DEMOCRACY INTERNATIONAL INC
53


     2/11/2025                72067422CA00003                                ABT GLOBAL LLC
54


     2/11/2025                72067424CA00003                                DEMOCRACY WORKS FOUNDATION
55

     2/11/2025                72067524CA00001                                ADVANCING DEMOCRATIC ELECTIONS & POLITICAL TRANSITIONS LLC
56


     2/11/2025                72068021LA00001                                CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
57

     2/11/2025                72068522LA00001                                CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
58


     2/11/2025                72068523LA00002                                CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
59

     2/11/2025                72068818CA00001                                MALI ELECTORAL TRANSFORMATION PROGRAM (MET)
60


     2/11/2025                72068821LA00002                                MALI ELECTORAL TRANSFORMATION PROGRAM (MET)
61

     2/11/2025                AID-117-LA-16-00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
62


     2/11/2025                AID-388-A-17-00003                             DEMOCRACY INTERNATIONAL INC
63


     2/11/2025                AID-520-LA-17-00001                            CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
64


     2/12/2025                72016722C00001                                 DEMOCRACY INTERNATIONAL, INC
65

     2/12/2025                72016725F00001                                 INTERNATIONAL BUSINESS & TECHNICAL CONSULTANTS, INC.
66

     2/12/2025                72016922C00002                                 DELOITTE CONSULTING LLP
67


     2/12/2025                72026821C00001                                 DAI GLOBAL LLC
68
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        A                                               B                                                      C


     2/12/2025                72038319F00001                                DELOITTE CONSULTING LLP
69

     2/12/2025                72016722FA00001                               DEMOCRACY PLUS
70


     2/12/2025                72016919LA00002                               CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
71


     2/12/2025                72038320LA00002                               CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
72

     2/12/2025                72038324LA00001                               CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
73


     2/12/2025                72048223LA00001                               CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
74

     2/12/2025                72062118LA00001                               CONSORTIUM FOR ELECTIONS & POLITICAL PROCESS STRENGTHENING
75


     2/11/2025                7200AA20C00063                                ODRG CSI/JV, LLC
76

     2/11/2025                7200AA20C00069                                Katmai Management Services, LLC)
77


     2/11/2025                7200AA21P00037                                Remote Command Center, USA, LLC.
78

     2/11/2025                72064121CA00001                               COOPERATIVE HOUSING FOUNDATION
79


     2/11/2025                7200AA22P00030                                Colonial Parking
80


     2/11/2025                72052725PC00005                               SURVEYMONKEY Inc.
81


     2/11/2025                72MC1022P00007                                ECONOMIST INTELLIGENCE UNIT, NA, INCORPORATED, THE
82

     2/11/2025                72REFS24PC00023                               BLOOMBERG INDUSTRY GROUP, INC.
83

     2/11/2025                72038821GR00002                               BBC MEDIA ACTION
84

                              AID391A1400001
     2/11/2025                                                              INDUS BASIN SME INVESTMENTS LTD
                              AID-391-A-14-00001
85
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         A                                               B                                                    C


      2/11/2025                7200AA18CA00009                               PURDUE APPLIED RESEARCH INSTITUTE, LLC
86

      2/11/2025                7200AA21CA00003                               PARTNERS OF THE AMERICAS, INC.
87


      2/11/2025                72064121CA00001                               COOPERATIVE HOUSING FOUNDATION
88


      2/11/2025                72011422CA00001                               EAST-WEST MANAGEMENT INSTITUTE INC
89

      2/11/2025                72029421CA00001                               DAI GLOBAL LLC
90


      2/11/2025                72029422CA00008                               INTERNATIONAL RESEARCH AND EXCHANGES BOARD INC.
91

      2/11/2025                72030623CA00002                               INTERNATIONAL RESCUE COMMITTEE, INC.
92


      2/11/2025                72030624CA00002                               CARE
93

      2/11/2025                72061720CA00005                               THE JOHNS HOPKINS UNIVERSITY
94


      2/11/2025                72066020CA00002                               FAMILY HEALTH INTERNATIONAL
95

      2/11/2025                72066722LA00002                               PACT, INC.
96


      2/11/2025                72066822CA00002                               EDUCATION DEVELOPMENT CENTER, INC.
97


      2/11/2025                72068522CA00001                               RESEARCH TRIANGLE INSTITUTE
98


      2/11/2025                72068718CA00003                               MANAGEMENT SCIENCES FOR HEALTH, INC.
99

      2/11/2025                AID-263-A-15-00018                            AMIDEAST
100

      2/11/2025                72065622CA00008                               WORLD EDUCATION, INC.
101


      2/11/2025                72030622IO00003                               UN WOMAN
102
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         A                                               B                                                   C


      2/11/2025                72051421IO00002                               INTERNATIONAL ORGANIZATION FOR MIGRATION
103

      2/11/2025                72068724IO00004                               WORLD HEALTH ORGANIZATION
104


      2/12/2025                72026819CA00001                               WORLD LEARNING INC.
105


      2/12/2025                72026823CA00001                               RESEARCH TRIANGLE INSTITUTE
106

      2/12/2025                72049219CA00005                               RESEARCH TRIANGLE INSTITUTE
107


      2/12/2025                72049220CA00003                               EDUCATION DEVELOPMENT CENTER, INC.
108

      2/12/2025                72066321CA00001                               AMREF HEALTH AFRICA
109


      2/12/2025                AID-596-A-16-00001                            PAN AMERICAN DEVELOPMENT FOUNDATION, INC.
110

      2/12/0205
111                            72066418CA00001                               FAMILY HEALTH INTERNATIONAL


      2/12/2025                720DDG18IO00001                               WORLD HEALTH ORGANIZATION
112

      2/11/2025                7200AA21F00009                                CHEMONICS INTERNATIONAL, INC.
113


      2/11/2025                7200AA19C00080                                PALLADIUM INTERNATIONAL LLC
114


      2/11/2025                7200AA20F00004                                DEXIS CONSULTING GROUP
115


      2/11/2025                7200AA21F00008                                DT GLOBAL INC
116

      2/11/2025                7200AA21F00010                                THE KAIZEN COMPANY, LLC
117

      2/11/2025                7200AA21N00007                                JEFFERSON CONSULTING GROUP LLC
118


      2/11/2025                7200AA22C00032                                VISANT
119
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         A                                           B                                                         C


      2/11/2025                7200AA22C00044                            CHEMONICS INTERNATIONAL, INC.
120

      2/11/2025                7200AA22F00001                            THE KAIZEN COMPANY, LLC
121


      2/11/2025                7200AA22F00017                            TETRA TECH DRG JV, INC.
122


      2/11/2025                7200AA22F50017                            ENCOMPASS LLC
123

      2/11/2025                7200AA22M00002                            DEXIS PROFESSIONAL SERVICES, LLC
124


      2/11/2025                7200AA22M00006                            JEFFERSON CONSULTING GROUP LLC
125

      2/11/2025                7200AA22N00006                            INTERNATIONAL DEVELOPMENT GROUP ADVISORY SERVICES, LLC
126


      2/11/2025                7200AA22N00008                            RESEARCH TRIANGLE INSTITUTE (RTI)
127

      2/11/2025                7200AA23C00082                            KWAAN TECH, LLC
128


      2/11/2025                7200AA23C00109                            WOLF LAKE SERVICES, LLC
129

      2/11/2025                7200AA23C00112                            USMAX CORPORATION
130


      2/11/2025                7200AA23M00009                            ENVIRONMENTAL INCENTIVES, INC.
131


      2/11/2025                7200AA23M00011                            CLOUDBURST CONSULTING GROUP, INC.
132


      2/11/2025                7200AA23M00020                            NATIONAL OPINION RESEARCH CENTER
133

      2/11/2025                7200AA23N00003                            ECODIT LLC
134

      2/11/2025                7200AA19M00003                            JEFFERSON CONSULTING GROUP LLC
135


      2/11/2025                7200AA24C00057                            Glacier Support Services, LLC (GSS)
136
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         A                                           B                                                    C


      2/11/2025                7200AA24C00062                            DAI GLOBAL LLC
137

      2/11/2025                7200AA24F00004                            AECOM TECHNICAL SERVICES, INC.
138


      2/11/2025                7200AA24F50020                            ENCOMPASS LLC
139


      2/11/2025                7200AA24M00001                            ZEMITEK LLC
140

      2/11/2025                7200AA24M00011                            ZEMITEK LLC
141


      2/11/2025                7200AA24M00015                            Environmental Incentives, Inc
142

      2/11/2025                7200AA24N00009                            THE CADMUS GROUP LLC
143


      2/11/2025                72011424C00001                            DELOITTE CONSULTING LLP
144

      2/11/2025                72011424C00004                            DAI GLOBAL LLC
145


      2/11/2025                72026321C00003                            MTC INTERNATIONAL DEVELOPMENT HOLDING COMPANY, LLC
146

      2/11/2025                72039124N00001                            TETRA TECH, INC.
147


      2/11/2025                72052024C00001                            CHEMONICS INTERNATIONAL, INC.
148


      2/11/2025                72052222C00006                            DAI GLOBAL LLC
149


      2/11/2025                72052224F00001                            WSP USA SOLUTIONS INC
150

      2/11/2025                72061124N00001                            ENCOMPASS LLC
151

      2/11/2025                72051924F00008                            CREATIVE ASSOCIATES INTERNATIONAL, INC
152


      2/11/2025                720CPS21M00002                            CELEEN LLC
153
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         A                                            B                                                   C


      2/11/2025                7200AA22N00003                             TETRA TECH, INC.
154

      2/11/2025                7200AA23M00002                             DALBERG CONSULTING US LLC
155


      2/11/2025                7200AA24M00009                             TRG
156


      2/11/2025                7200AA24N00011                             FEDWRITERS, INC.
157

      2/11/2025                7200AA24N00010                             CELEEN LLC
158


      2/11/2025                7200AA23C00025                             KAIVA TECH, LLC
159

      2/12/2025                7200AA18M00014                             TETRA TECH, INC.
160


      2/12/2025                72066023C00001                             DAI GLOBAL LLC
161

      2/12/2025                72038824C00003                             PALLADIUM INTERNATIONAL LLC
162


      2/12/2025                72011721C00001                             CHEMONICS INTERNATIONAL, INC.
163

      2/12/2025                72011722F00002                             TETRA TECH ES, INC.
164


      2/12/2025                72012122C00002                             DAI GLOBAL LLC
165


      2/12/2025                72012125C00003                             DAI GLOBAL LLC
166


      2/12/2025                72026724N00001                             CHEMONICS INTERNATIONAL, INC.
167

      2/12/2025                72026820C00003                             DAI GLOBAL LLC
168

      2/12/2025                72029424C00001                             CHEMONICS INTERNATIONAL, INC.
169


      2/12/2025                72029424F00004                             DAI GLOBAL LLC
170
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      2/12/2025                72029424F00007                             AECOM TECHNICAL SERVICES, INC.
171

      2/12/2025                72029424F00008                             AECOM TECHNICAL SERVICES, INC.
172


      2/12/2025                72036723C00001                             DAI GLOBAL LLC
173


      2/12/2025                72036723C00002                             CHEMONICS INTERNATIONAL, INC.
174

      2/12/2025                72049224C00002                             DT GLOBAL INC
175


      2/12/2025                72051924F00005                             PALLADIUM INTERNATIONAL LLC
176

      2/12/2025                72061222N00001                             CHEMONICS INTERNATIONAL, INC.
177


      2/12/2025                72061522M00004                             SOCHA, LLC
178

      2/12/2025                72061524F00003                             EDUCATION DEVELOPMENT CENTER, INC.
179


      2/12/2025                72061724F00001                             BIXAL SOLUTIONS INCORPORATED
180

      2/12/2025                7200AA22M00001                             GLOBAL SOLUTIONS VENTURES, LLC
181


      2/12/2025                72067423C00003                             RESEARCH TRIANGLE INSTITUTE (RTI)
182


      2/12/2025                72067424C00002                             TETRA TECH ES, INC.
183


      2/12/2025                72067425C00001                             TETRA TECH ES, INC.
184

      2/6/2025                 7200AA20M00010                             ZEMITEK LLC
185

      2/11/2025                7200AA22C00059                             Articus Solutions
186
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      2/12/2025                7200AA19F00015                             DEVTECH SYSTEMS INC

187

      2/12/2025                7200AA19F00024                             INTERNATIONAL DEVELOPMENT GROUP ADVISORY SERVICES, LLC
188


      2/12/2025                7200AA19F50037                             ZEMITEK LLC
189


      2/12/2025                7200AA19M00017                             MANAGEMENT SYSTEMS INTERNATIONAL, INC.
190


      2/12/2025                7200AA20F00013                             TETRA TECH ES, INC.
191


      2/12/2025                7200AA21C00050                             CHENEGA ENTERPRISE SYSTEMS & SOLUTIONS, LLC
192

      2/12/2025                7200AA21N00001                             ENCOMPASS LLC
193


      2/12/2025                7200AA22C00050                             EAGLE HEALTH, LLC
194


      2/12/2025                7200AA22C00051                             CHUGACH TECHNICAL SOLUTIONS LLC
195

      2/12/2025                7200AA22F00014                             INTEGRITY GLOBAL INC.
196

      2/12/2025                7200AA22F00016                             MAKING CENTS
197


      2/12/2025                7200AA22F50030                             ENCOMPASS LLC
198


      2/12/2025                7200AA22M00015                             BIXAL SOLUTIONS INCORPORATED
199

      2/12/2025                7200AA22N00002                             DAI GLOBAL LLC
200


      2/12/2025                7200AA23C00024                             CHUGACH DYNAMIC SOLUTIONS LLC
201

      2/12/2025                7200AA23C00042                             CHICKASAW STRATEGIC POINTE, LLC
202
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         A                                            B                                                    C


      2/12/2025                7200AA23M00006                             THE DESIGNPOND
203

      2/12/2025                7200AA23M00013                             DEVTECH SYSTEMS INC
204


      2/12/2025                7200AA23M00014                             SOCIAL IMPACT INC
205


      2/12/2025                7200AA24M00017                             CONSENSUS SOLUTIONS, LLC
206

      2/12/2025                7200AA24P00065                             AGENCE FRANCE PRESSE
207


      2/12/2025                72051922F00003                             ENCOMPASS LLC
208

      2/12/2025                72066322C00001                             LINC LLC
209


      2/12/2025                72066922F00004                             INTERNATIONAL BUSINESS INITIATIVES LLC
210

      2/12/2025                72066923C00002                             FAMILY HEALTH INTERNATIONAL
211


      2/12/2025                72066923F00001                             DAI GLOBAL LLC
212

      2/12/2025                72068822C00001                             ARD, INC.
213


      2/12/2025                72068823C00002                             SOCIAL IMPACT INC
214


      2/12/2025                72068824C00001                             CHEMONICS INTERNATIONAL, INC.
215


      2/12/2025                72068824F00001                             DEXIS INTERACTIVE LLC
216

      2/12/2025
217                            72062422F00001                             KHULISA MANAGEMENT SERVICES, INC.

      2/12/2025
218                            72052222F00006                             INTERNATIONAL BUSINESS INITIATIVES LLC

      2/12/2025
219                            72052122F00001                             INTERNATIONAL BUSINESS INITIATIVES LLC
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         A                                            B                                                   C


      2/12/2025
220                            72051924F00006                             DAI GLOBAL LLC

      2/12/2025
221                            72051924F50018                             MUKUNDA P SITAULA

      2/12/2025
222                            72051925F00001                             DAI GLOBAL LLC

      2/12/2025
223                            72051422F00005                             CHEMONICS INTERNATIONAL, INC.

      2/12/2025
224                            72051423C00001                             CHEMONICS INTERNATIONAL, INC.

      2/12/2025
225                            72051423C00002                             ARD, INC.

      2/12/2025
226                            720BHA23S00110                             SAMANTHA ELFMONT

      2/12/2025
227                            720BHA21S00155                             ALEXANDRA KLASS

      2/12/2025
228                            720BHA23S00186                             KATHRYN MAGEE MCMAHON

      2/12/2025
229                            720BHA23S00252                             SCHALA MARYSE BATTLE

      2/12/2025
230                            7200AA23M00015                             INTERNATIONAL CENTER FOR LANGUAGE STUDIES, INC.

      2/12/2025
231                            7200AA22F00007                             ENCOMPASS LLC
